                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                                No. 5:17-CR-98-lD

   UNITED STATES OF AMERICA               )
                                          )
                       V.                 )                  ORDER
                                          )
  DASHAWN JEWELINMCCALL,                  )
                                          )
                             Defendant. )

      This matter is before the Court upon motion of the United States for an order

to seal Docket Entry 51. For the reasons set forth in the Government's Motion, the

request is ALLOWED. The Clerk is directed to seal Docket Entry 51 until further

order of this Court.
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      SO ORDERED, t h i s - - = - - - - day of SepLembe.t, 2021.




                                      JAM s C. DEVER III.
                                      UNITED STATES DISTRICT JUDGE




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